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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 10-20410-CR-LENARD/TURNOFF

  UNITED STATES OF AMERICA,

                       Plaintiff,
  vs.

  JONATHAN MORLEY and
  SHAHEED RASHARD THOMPSON,
  et al.,

                   Defendants.
  ________________________________/

         OMNIBUS ORDER DENYING DEFENDANT JONATHAN MORLEY’S
        AMENDED MOTION FOR SEVERANCE OF OFFENSES (D.E. 721) AND
          DENYING AS MOOT DEFENDANT MORLEY’S MOTIONS FOR
            SEVERANCE (D.E. 294, 349) AND DEFENDANT SHAHEED
           THOMPSON’S CORRECTED MOTION TO SEVER (D.E. 345)

         THIS CAUSE is before the Court on the Defendant Jonathan Morley’s Amended

  Motion For Severance of Offenses (D.E. 721), Motions for Severance (D.E. 294 and 349)

  and Defendant Shaheed Thompson’s Corrected Motion for Severance (D.E. 345). The

  Government filed responses to the Motions (D.E. 381 and 723). Upon review of the

  Defendants’ Motions, the Government’s Response and the record, the Court finds as

  follows.

  I.     Factual and Procedural Background

          This case involves an alleged conspiracy to distribute narcotics by fifteen

  individuals haling from the City of Miami Gardens. Defendants Jonathan Morley and

  Shaheed Thompson are two of the charged co-conspirators in this operation, which
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  allegedly operated out of several residences used as stash houses and points of

  distribution. The Government alleges that the conspirators would routinely use stolen

  identification documents to set up and pay for the utility bills of each house. The stolen

  identities were also used to pay other expenses related to the narcotics operation.

         As part of a forty-six count Superseding Indictment (D.E. 458-462), Morley is

  charged with conspiracy to possess with intent to distribute cocaine, marijuana and

  MDMA, possession with intent to transfer five or more identification and false

  identification documents and aggravated identity theft (Counts 1, 13, 15-34). Thompson

  is charged with conspiracy to possess with intent to distribute cocaine, marijuana and

  MDMA (Count 1). Co-conspirator Sherline Richard, originally charged as part of the

  conspiracy, entered a guilty plea (D.E. 435) on October 29, 2010 to conspiracy to possess

  with intent to distribute cocaine, marijuana and MDMA, possession with intent to

  transfer five or more identification and false identification documents and aggravated

  identity theft. The Government intends to call her at trial to testify against Morley,

  Thompon and the remaining defendants.

         In their Motions to Sever (D.E. 345 and 349), filed on September 17 and 22, 2010,

  Thompson and Morley sought to sever their trials from that of Richard, out of concern

  that her post-arrest statements would create impermissible prejudice against them in

  violation of Bruton v. United States, 391 U.S. 123 (1965). Because Richard has pled

  guilty and will no longer be tried alongside them, these Motions may be denied as moot.

         Morley also moves to sever trial on Count 1 from the other counts against him.


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  (Morley Am. Mot. for Severance of Offenses.)1 Citing the Sixth and Fourteenth

  Amendments and Federal Rules of Criminal Procedure 8(a) and 14, he argues that the

  Superseding Indictment charges him with two separate and distinct crimes – conspiracy to

  possess with intent to distribute narcotics and identity theft – and his defense would be

  substantially prejudiced in a joint trial on the charges. (Am. Mot. at 4.)

         Morley contends that the alleged drug trafficking offense is not of the same

  character, based on the same act or transaction, or part of a common scheme or design as

  the identity theft offenses, thus their inclusion in the same indictment and in a unified trial

  constitutes misjoinder. (Am. Mot. at 2, citing Fed.R.Crim.P. 8(a).) Morley further

  indicates that he plans to testify in his own defense as to the identity theft charges but

  wishes to exercise his Fifth Amendment right to silence on the conspiracy charge. (Id. at

  4.) Should he take the stand in defense of the identity theft charge, however, he will

  waive this privilege as to all other charges. (Id. at 4, citing Johnson v. United States, 318

  U.S. 189 (1943). Morley claims that the forced choice between waiving his Fifth

  Amendment right and testifying in his defense at a joint trial constitutes compelling

  prejudice such that this Court should exercise its discretion under Rule 14 to sever the

  trial. (Am. Mot. at 4, citing United States v. Kabbaby, 672 F.2d 861 (11th Cir. 1982).

         In its Response,2 the Government argues that joinder of the separate offenses is


         1
                 Morley’s Amended Motion (D.E. 721) is virtually identical to his original Motion
  for Severance (D.E. 294).
         2
               The Government’s Response to Morley’s Amended Motion (D.E. 723) adopts its
  previous Omnibus Response (D.E. 381).

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  proper under Rules 8 and 14. First, the offenses are related in that the identity theft was

  committed in furtherance of the drug trafficking conspiracy, i.e., funds obtained through

  stolen identities were used to fund the operations of the co-conspirators. Therefore, the

  identity theft charges fit logically within the narcotics conspiracy and are not misjoined.

  Second, the Government argues that Morley has not discharged his heavy burden to

  demonstrate compelling prejudice. (Resp. at 6, citing United States v. Kennard, 472 F.3d

  851, 858-59 (11th Cir. 2006).) It claims that Morley has not provided this Court with

  enough information to show both that he has important testimony to give in defense of the

  identity theft charges and a strong need to remain silent on the drug trafficking conspiracy

  charge. (Id. at 7, citing United States v. Outler, 659 F.2d 1306, 1313 (11th Cir. 1981).

  Consequently, Morley’s motion should be denied.

  II.    Discussion

         The Court must undertake a two-step inquiry to determine whether separate

  charges may be properly tried at the same time. First, the government bears the burden to

  show that joinder of the offenses is proper under Fed.R.Crim.P. 8. United States v.

  Gabay, 923 F.2d 1536, 1539 (11th Cir. 1991). If it is, the Court then must consider

  wether it should exercise its discretion to sever offenses in order to avoid prejudice to a

  defendant or the government. Id. (citing United States v. Montes-Cardenas, 746 F.2d

  771, 776 (11th Cir. 1984)).

         Federal Rule of Criminal Procedure 8(a) governs the joinder of offenses,

  providing:


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         The indictment of information may charge a defendant in separate counts with
         2 or more offenses if the offenses charged -- whether felonies or misdemeanors
         or both -- are of the same or similar character, or are based on the same act or
         transaction, or are connected or constitute parts of a common scheme or plan.


  Fed.R.Crim.P. 8(a). Courts broadly construe this Rule in favor of joinder. United States

  v. Dominguez, 226 F.3d 1235, 1238 (11th Cir. 2000). Joinder of offenses is proper when

  “the facts underlying each offense are so closely connected that proof of such facts is

  necessary to establish each offense.” United States v. Weaver, 905 F.2d 1466, 1477 (11th

  Cir. 1990).

         In Dominguez, the Eleventh Circuit held proper the joinder of charges alleging

  mortgage loan fraud and drug related charges, finding that the acts constituted a common

  scheme where the fraud was necessary to conceal the proceeds of the illicit drug activity.

  226 F.3d at 1239. “The fact that one illegal activity provides the impetus for the other

  illegal activity is sufficient to constitute a common scheme for joinder purposes.” Id.; see

  also United States v. Kopituk, 690 F.2d 1289, 1314 (11th Cir. 1982) (joinder held proper

  where income tax violations were found to have furthered the non-tax offeses such as

  racketeering, conspiracy and extortion). That each defendant may not have been involved

  in every phase of the alleged criminal activity or even know the roles and identities of the

  other participants is not necessary. United States v. Wilson, 894 F.2d 1245, 1252-53

  (11th Cir. 1990).

         Here, the Government alleges that the use and transfer of stolen and false

  identification documents by Morley was for the express purpose of supporting the drug


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  trafficking activity. Pursuant to the Eleventh Circuit’s guidance in Dominguez, Weaver

  and Wilson, this Court finds that the drug trafficking conspiracy charge and the identity

  theft charges against Morley comprise a common scheme or plan and therefore are

  properly joined in the Superseding Indictment under Rule 8(a).

         The Court next considers Morley’s claim that compelling prejudice would result

  from a joint trial on the drug trafficking conspiracy and identity theft charges. Morley

  claims that a joint trial will force him to choose between invoking his Fifth Amendment

  right to silence on the conspiracy charge and testifying in his defense to the identity theft

  charges.

         Federal Rule of Criminal Procedure 14(a) allows the court to “order separate trials

  of counts . . . or provide any other relief that justice requires” in the event that a joinder of

  offenses in an indictment or for trial appears to prejudice a defendant or the government.”

  Fed.R.Civ.P. 14(a). Any such relief is within the discretion of the district court. United

  States v. Benz, 740 F.2d 903, 911 (11th Cir. 1984). The defendant bears the heavy burden

  to demonstrate the existence of compelling prejudice which would result in an unfair trial.

  United States v. Kennard, 472 F.3d 851, 858-59 (11th Cir. 2006).

         Severance is not required simply because the defendant indicates the desire to

  testify on some counts but not others. United States v. Hersh, 297 F.3d 1233, 1243 n.15

  (11th Cir. 2002) (citing United States v. Forrest, 623 F.2d 1107, 1115 (5th Cir. 1980)).

  Rather, the defendant must show that he did not testify in a joint trial because “the

  charges were distinct in time, place, and evidence, that there was “important” evidence


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  that he might have offered on one set of charges but could not, and that he had a “strong

  need” not to testify on the other counts. Hersh, 297 F.3d at 1243 n.15 (citing United

  States v. Gardiner, 955 F.2d 1492, 1497 (11th Cir. 1992)). It is the defendant’s

  responsibility to provide the trial court with sufficient information to make such findings.

  See United States v. Outler, 659 F.2d 1306, 1313 (11th Cir. 1981).

         Here, Morley has not provided nor offered to provide the Court with specific

  information regarding the important evidence he intends to present in defense of the

  identity theft charges or his strong need to remain silent as to drug trafficking conspiracy

  charge.3 His general statement that he has “established and demonstrated compelling

  prejudice” is unsupported by the record and unpersuasive. Consequently, the Court finds

  that Morley has not discharged his burden to show why this Court should exercise its

  discretion under Rule 14 to sever the charges in his Superseding Indictment.4

         Finally, after balancing the risk of unfair prejudice to Morley against the interests

  of judicial economy, the Court concludes that the Morley’s Amended Motion to

  Severance of Offenses should be denied. See United States v. Baker, 432 F.3d 1189,

  1236 (11th Cir. 2005) (stating that the district court is required to balance the right of the

  defendant to a fair trial against the public’s interest in efficiency and judicial economy);

         3
                The Court notes that Morley has had two opportunities to make this showing, his
  original Motion to Sever, filed on September 1, 2010, and the Amended Motion, filed on May 5,
  2011.
         4
                   Moreover, it is possible that even if Morley’s offenses were severed for trial, he
  would still be subject to cross-examination on the drug trafficking charges if he took the stand at
  trial for the identity theft charges. Although this issue is not briefed by either party, such a
  scenario would render severance unwarranted. See Benz, 740 F.2d at 912.

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  Benz, 740 F.2d at 911.

        Accordingly, it ORDERED AND ADJUDGED that:

        1.     Defendant Jonathan Morley’s Amended Motion for Severance of Offenses

               (D.E. 721), filed on May 5, 2011, is DENIED.

        2.     Defendant Jonathan Morley’s Motion to Sever (D.E. 294), filed on

               September 1, 2010, is DENIED as moot, having been superseded by the

               Amended Motion.

        3.     Defendant Shaheed Rashard Thompson’s Corrected Motion to Sever (D.E.

               345), filed on September 17, 2010, is DENIED as moot.

        4.     Defendant Jonathan Morley’s Motion to Sever (D.E. 349), filed on

               September 22, 2010, is DENIED as moot.

        DONE AND ORDERED in Chambers at Miami, Florida, this 23rd day of

  August, 2011.



                                                      JOAN A. LENARD
                                                UNITED STATES DISTRICT JUDGE




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